525 F.2d 670
    91 L.R.R.M. (BNA) 2240, 78 Lab.Cas.  P 11,275
    NATIONAL LABOR RELATIONS BOARD, Petitioner,v.TENNESSEE PLASTICS, INC., Respondent.Local 464, Sheet Metal Workers' International Association, Intervenor.
    No. 73--1445.
    United States Court of Appeals,Sixth Circuit.
    Nov. 3, 1975.
    
      Elliot Moore, Peter Nash, Asst. Gen. Counsel, N.L.R.B., Washington, D.C., David Miller, John Irving, Walter C. Phillips, Director, Reg. 10, N.L.R.B., Atlanta, Ga., John D. Burgoyne, Patrick Hardin, Julius Rosenbaum, Washington, D.C., for petitioner.
      Anthony J. Leggio, Mitchell, Pate &amp; Anderson, James W. Wimberly, Jr., Atlanta, Ga., for respondent.
      R. Jeffrey Bixler, Mulholland, Hickey &amp; Lyman, Toledo, Ohio, for intervenor.
      Before EDWARDS, CELEBREZZE and LIVELY, Circuit Judges.
    
    ORDER
    
      1
      This case is before the Court upon the application of the National Labor Relations Board for enforcement of its supplemental order issued against Respondent after proceedings pursuant to this Court's opinion of January 3, 1974, N.L.R.B. v. Tennessee Plastics, Inc., 489 F.2d 734.  Following further fact finding the Board found that the Company violated the National Labor Relations Act by refusing to bargain with the Union.
    
    
      2
      Considering the record as a whole, we believe that there is substantial evidence to support the Board's findings, accordingly,
    
    
      3
      Enforcement of the Board's order is therefore granted.
    
    